                       UNITED STATES DISTRICT COURT
                       EASTERN DISTRICT OF WISCONSIN
                           Civil No. 1:18-cv-108 (WCG)


Menominee Indian Tribe of Wisconsin,
                                         DEFENDANTS’ MEMORANDUM
                    Plaintiff,           IN SUPPORT OF MOTION TO
                                         DISMISS
             v.

United States Environmental Protection
Agency, et al.,

                    Defendants.




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                                 INTRODUCTION

      Defendants the U.S. Environmental Protection Agency (“EPA”) and the U.S.

Army Corps of Engineers (the “Corps”) move pursuant to Fed. R. Civ. P. 12(b)(1)

and 12(b)(6) to dismiss both counts of the Complaint. In this case, the construction

of a proposed mine on the Michigan side of the Menominee River will involve the

discharge of dredged or fill material into waters of the United States, and thus requires

a permit under Section 404 of the Clean Water Act (“CWA”), 33 U.S.C. § 1344 (a

“Section 404 permit”). Plaintiff, the Menominee Indian Tribe of Wisconsin (“the

Tribe”), argues that the Corps, not the Michigan Department of Environmental

Quality (“Michigan DEQ”), should be the agency which determines whether or not to

issue that permit.

       Count 1 is brought under the CWA’s citizen suit provision, 33 U.S.C. §

1365(a)(2), and argues that EPA and the Corps each have a mandatory duty to

exercise Section 404 permitting authority. The statutory provision, however, only

waives the United States’ sovereign immunity to suit for mandatory duties imposed

upon the EPA Administrator, not the Corps, so to the extent Count 1 seeks relief

against the Corps, the Court lacks subject matter jurisdiction. And, even if the statute

could be read to include the Corps within its terms, the Court should follow the Sixth

Circuit’s decision on very similar facts in Huron Mountain Club v. U.S. Army Corps of

Engineers, 545 F. App’x 390 (6th Cir. 2013), which held that there is no duty to




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exercise Section 404 permitting authority. Without a mandatory duty, Count 1 fails to

state a claim against the Corps.

      As to Count 1’s claims against EPA, EPA does not issue permits or otherwise

exercise permitting authority at all (other than its right to object to a proposed

permit). Thus, the arguments in Count 1 that EPA must somehow exercise Section

404 permitting authority, which EPA does not have, fail to state a claim. Count 1 also

argues that Section 404 permitting authority for discharges into the portion of the

Menominee River and its adjacent wetlands near the proposed mine should not have

been assumed by the State of Michigan. This is actually a challenge to the substance

of EPA’s 1984 decision to approve Michigan’s assumption of the Section 404

permitting program, not a claim that EPA violated any mandatory duties in making

that decision, and under Scott v. City of Hammond, 741 F.2d 992 (7th Cir. 1984), is not

properly the subject of a CWA citizen suit. For this reason as well, Count 1 fails to

state a claim upon which relief may be granted against EPA.

      Count 2 argues that statements in letters to a U.S. Senator and to the Tribe

itself are final agency actions with respect to whether the federal agencies will exercise

permitting authority over the proposed mine project, and thus are reviewable under

the Administrative Procedure Act (“APA”). This, too, fails to state a claim because

the letters neither mark the completion of the decision-making process nor have

concrete legal consequences that will directly affect the Tribe. The letters merely

restate a decision made decades ago and thus do not meet the Supreme Court’s well-

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established test for finality under the APA. See, e.g., Bennett v. Spear, 520 U.S. 154, 178

(1997).

        A.    Statutory and Regulatory Background

        The CWA prohibits the discharge of any pollutant into waters of the United

States except when authorized by a permit or an exception. 33 U.S.C. §§ 1311(a),

1362(12). Section 404(a) of the CWA authorizes the Secretary of the Army, acting

through the Corps, to issue individual permits for the discharge of certain pollutants,

specifically “dredged or fill material.” 33 U.S.C. § 1344(a); see generally 33 C.F.R. pts.

320, 325 (detailing permitting procedures). 1 However, under CWA section 404(g), a

state

        desiring to administer its own individual and general permit program for
        the discharge of dredged or fill material into the navigable waters (other
        than those waters which are presently used, or are susceptible to use in
        their natural condition or by reasonable improvement as a means to
        transport interstate or foreign commerce shoreward to their . . . mean
        high water mark, or mean higher high water mark on the west coast,
        including wetlands adjacent thereto) within its jurisdiction may submit to
        EPA a description of its program and a statement that state law provides
        adequate authority to carry out the program.

        33 U.S.C. § 1344(g)(1). The statute contains defined timelines for EPA to share

this information with sister federal agencies, for them to comment, and for EPA to

determine whether the state’s program meets certain criteria. Id. § 1344(h)(1). If EPA

1
  Under a separate permitting process not at issue here, discharges of other pollutants
are governed by the National Pollutant Discharge Elimination System (“NPDES”)
permit program, established in CWA section 402, 33 U.S.C. § 1342, which states can
also administer.


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fails to make a determination within 120 days, the state’s program is deemed to be

approved. Id. § 1344(h)(3).

      Once a state program is approved by EPA, the authority of the Corps to issue

Section 404 permits is suspended, except for those waters exempted from the

assumption. 33 U.S.C. § 1344(h)(2)(A). However, a state administering a Section 404

permit program must provide EPA with a copy of all permit applications and

proposed permits. Id. § 1344(j). If EPA objects to a proposed permit, the state may

either issue a revised permit that resolves EPA’s objections; deny the permit

application; or request a public hearing. 33 U.S.C. § 1344(j); 40 C.F.R. §§ 233.50(f),

(g). If the state takes none of these actions within 90 days, permitting authority

transfers to the Corps. 33 U.S.C. § 1344(j); 40 C.F.R. § 233.50(i). The Corps then

conducts its own analysis of the proposed project, independent of the state review

process and of EPA’s objections at the state level. Id. 2

      Michigan is one of only two states (alongside New Jersey) with a federally

approved state dredge and fill permitting program. See 40 C.F.R. § 233.70 (codifying

the Michigan assumption). EPA approved Michigan’s program in 1984. See 49 Fed.

Reg. 38,947 (Oct. 2, 1984).



2
 State NPDES permitting programs under section 402 are subject to a parallel
oversight process. A state may not issue a permit over EPA’s objection, and if a state
fails to submit a revised permit that resolves EPA’s objections, permitting authority
reverts to EPA. See 33 U.S.C. § 1342(d)(4).


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       B.    Factual Background

       Solely for purposes of this motion, the United States takes the following cited

facts from Plaintiff’s Complaint as true. The Back Forty Mine (the “Mine”) is a

proposed sulfide mine on the banks of the Menominee River in Menominee County,

Michigan. Compl. ¶ 36. According to the Complaint, the proposed Mine will

“dredge and/or fill wetlands adjacent to the Menominee River.” Id. ¶ 3. The

Complaint asserts that the Menominee River is used in interstate commerce, id. ¶ 35,

and “could not have [been] delegated [to Michigan] under applicable law.” Id. ¶ 34.

       The Mine’s proponent, Aquila Resources, Inc. (“Aquila”), applied to Michigan

DEQ for a Section 404 permit. Id. ¶ 39. Michigan DEQ supplied EPA with a copy

of the permit application in May 2016, EPA objected, and Aquila withdrew the

application and reapplied in January 2017. Id. ¶¶ 42, 43. Michigan DEQ has

published the permit application for public review and comment. Id. ¶ 50.

       On August 18, 2017, Sen. Baldwin wrote to the Corps and according to the

Complaint “requested that the federal agencies take jurisdiction of the Section 404

permitting for the Mine.” Id. ¶ 45. On August 21, 2017, the Tribe wrote to EPA and

to the Corps, asserting that the Corps is the proper Section 404 permitting authority

for the Mine, because “the Menominee River and adjacent wetlands were not and

could not be delegated to the State of Michigan in 1984 under 33 U.S.C. § 1344(g).”

Id. ¶ 44.



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      The Corps responded to Sen. Baldwin and to the Tribe in August and in

September 2017, respectively. Id. ¶¶ 46, 47. According to the Complaint, in these

letters the Corps “declin[ed] to exercise jurisdiction over the Section 404 permit”

application and noted that EPA would “review and comment and potentially object to

the proposed permit at a later date.” Id. ¶¶ 46, 47. EPA responded to the Tribe in

October 2017 and offered to consult with the Tribe regarding the Section 404 permit

process. Id. ¶ 48.

      On March 8, 2018, EPA issued a letter objecting to Aquila’s revised proposal.

See Declaration of Daniel R. Dertke, attached as Ex. 1.

      C.     Procedural Background

      By letter dated November 6, 2017, the Tribe provided a Notice of Intent to Sue

EPA and the Corps for failure to “comply with their mandatory duty to exercise

jurisdiction over the Section 404 permit” for the Mine, “based on the fact that the

Menominee River and its adjacent wetlands were not part of, and could not have been

part of, a Section 404 delegation to the State of Michigan under 33 U.S.C. § 1344(g).”

Compl. ¶ 49. The Tribe then filed this Complaint on January 22, 2018, and served the

U.S. Attorney’s Office on January 29.

                            STANDARD OF REVIEW

      When construing a motion under Fed. R. Civ. P. 12(b)(1), courts are not bound

to accept as true the allegations of the complaint, and “the party invoking jurisdiction

has the burden of supporting the allegations of jurisdictional facts by competent

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proof.” McCulley v. U.S. Dep’t of Veterans Affairs, 851 F. Supp. 1271, 1276 (E.D. Wis.

1994) (citations and quotation marks omitted). In contrast, when considering a

motion to dismiss under Rule 12(b)(6), the district court “must accept as true all well-

pleaded factual allegations contained in the plaintiff's complaint, viewing all

reasonable inferences in the light most favorable to the plaintiff.” Id. (citations

omitted). Because federal courts are courts of limited jurisdiction and may hear cases

only to the extent expressly provided by statute, Steel Co. v. Citizens for a Better Env’t,

523 U.S. 83, 94-95 (1998), it is “to be presumed that a cause lies outside this limited

jurisdiction, and the burden of establishing the contrary rests upon the party asserting

jurisdiction.” Kokkonen v. Guardian Life Ins. Co., 511 U.S. 375, 377 (1994) (citations

omitted).

                                      ARGUMENT

I.     Count 1 Should Be Dismissed To The Extent It Asserts That The Corps
       Violated A Mandatory Duty.

       The CWA’s citizen suit provision, 33 U.S.C. § 1365(a), is a limited waiver of

sovereign immunity, and courts must construe such waivers narrowly and may not

expand waivers beyond their express terms. Alliance To Save Mattaponi v. U.S. Army

Corps of Engineers, 515 F. Supp. 2d 1, 5 (D.D.C. 2007); U.S. Dep’t of Energy v. Ohio, 503

U.S. 607, 615 (1992). The Tribe cannot meet its burden to show that this waiver

applies to its claim against the Corps.




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         The statute’s plain language authorizes citizen suits against “the Administrator”

for the violation of a mandatory duty. 33 U.S.C. § 1365(a)(2). The Administrator is

defined as the Administrator of EPA, not as the Corps or its officials. Id. § 1251(d)

(“Except as otherwise expressly provided in this chapter, the Administrator of the

Environmental Protection Agency (hereinafter in this chapter called ‘Administrator’)

shall administer this chapter.”). Compare id. § 1365(a)(1) (allowing a citizen to bring

suit against “any person (including (i) the United States, and (ii) any other

governmental instrumentality or agency . . .)” for the violation of an effluent standard

or limitation).

         Count 1 must therefore be dismissed as to the Corps, for lack of jurisdiction.

Alliance to Save Mattaponi, 515 F. Supp. 2d at 7; Preserve Endangered Areas of Cobb’s

History, Inc. v. U.S. Army Corps of Engineers, 87 F.3d 1242, 1249 (11th Cir. 1996).

         Even if the Court were to find that the Corps falls within the terms of section

1365(a)(2) and has jurisdiction over a claim that the Corps violated a mandatory duty,

Count 1 should be dismissed for failure to state a claim. Count 1 is premised on the

theory that the Corps has a mandatory duty to exercise CWA permitting authority.

This theory has been explicitly rejected by the Sixth Circuit in a case with analogous

facts.

         In Huron Mountain Club, a mining company obtained a state permit to develop a

mine, part of which would be beneath the Salmon Trout River and its adjacent

wetlands. 545 F. App’x at 391. Plaintiffs appealed the permit in state court, and while

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that appeal was pending sought a federal court injunction arguing that the Corps is

required to administer the CWA permit program with respect to the proposed mine.

Id. at 392. Although the plaintiff did not bring a citizen suit claim against the Corps,

the Court’s analysis under the APA and the Mandamus Act involved essentially the

same question as presented here: whether the Corps “has a non-discretionary duty

under the CWA to administer the CWA permitting program.” Id. at 394. See also

Huron Mountain Club v. U.S. Army Corps of Engineers, No. 2:12-cv-197, 2012 WL

3060146 at *4 (W.D. Mich. July 25, 2012) (plaintiff asserts the Corps has

“congressionally mandated responsibilities” to administer the CWA permitting

program “when the facts prove the Corps’ jurisdiction has been triggered”); id. at *8

(asserting that the Corps “cannot delegate its CWA § 404 permitting authority” to

Michigan because the waters at issue are “beyond the scope of waters that are subject

to state delegation”).

      The Sixth Circuit concluded that there is no mandate “to initiate the permit

process” or “to force permitting requests.” 545 F. App’x at 394, 396. The Court

should reach the same conclusion here. Despite the Tribe’s argument that Section

404 permitting authority for the Menominee River and its wetlands “could not be

delegated to the State of Michigan in 1984,” Compl. ¶ 62, which are identical to the

Huron Mountain Club’s allegations, even if true, there is no mandatory duty to

“exercise federal jurisdiction and control over the Section 404 permitting” of the

Mine. Id. ¶ 3.

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II.    Count 1 Should Be Dismissed To The Extent It Asserts That EPA
       Violated A Mandatory Duty.

       EPA has no authority to issue Section 404 permits. Compare 33 U.S.C. §§

1344(a) (“The Secretary may issue permits . . . for the discharge of dredged or fill

material into the navigable waters at specified disposal sites”) and 1344(e) (“the

Secretary may . . . issue general permits on a State, regional, or nationwide basis for

any category of activities involving discharges of dredged or fill material”) with id. §

1344(c) (“The Administrator is authorized to prohibit the specification . . . of any

defined area as a disposal site”). Thus, the arguments in Count 1 that EPA must

somehow assume the permit-writing function under Section 404 is even farther

removed from stating a claim for the violation of a mandatory duty than are the

Tribe’s assertions that the Corps has such a duty.

       In addition to a generalized duty to exercise permitting authority, the Tribe also

argues that because CWA Section 404(g) allegedly precludes Michigan from assuming

Section 404 permitting authority for discharges into the Menominee River and its

adjacent wetlands, EPA violated a mandatory duty when it approved Michigan’s

permitting program in 1984. Compl. ¶ 56. This argument fails because it amounts to

a challenge to the substance of EPA’s 1984 approval decision. As the Seventh Circuit

has explained, the content of an agency’s decision can only be challenged under the

APA, not in a citizen suit under 33 U.S.C. § 1365(a)(2). Scott v. City of Hammond, 741

F.2d 992, 995 (7th Cir. 1984) (holding that “EPA’s approval of an inadequate


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standard” cannot be challenged via a citizen’s suit); see also Wisconsin’s Environmental

Decade, Inc. v. Wisconsin Power & Light Co., 395 F. Supp. 313, 321 (W.D. Wis. 1975)

(finding that the predecessor provision to 33 U.S.C. § 1365(a)(2) “was intended to

provide relief only in a narrowly-defined class of situations in which the Administrator

failed to perform a mandatory function; it was not designed to permit review of the

performance of those functions”).

       Count 1 thus amounts to a challenge to the merits of EPA’s determination that

Michigan can assume the Section 404 permitting program. The Tribe’s real complaint

is with the outcome of that decision, i.e., which waterbodies were excluded when

Michigan assumed the permitting program. Because a citizen’s suit under section

1365(a)(2) cannot address the substance or merits of an agency action, only whether

or not it was performed, the Tribe’s arguments about the merits of EPA’s decision are

not properly the subject of Count 1. Count 1 therefore fails to state a claim upon

which relief may be granted against EPA or the Corps.

III.   Count 2 Fails To State A Claim For Judicial Review Of A Final Agency
       Action.

       Perhaps recognizing that they are well out of time to challenge the content of

EPA’s actual decision that Michigan can assume the Section 404 permitting program,

in Count 2 the Tribe argues that letters written in 2017 are final agency actions “on

the matter of exercising jurisdiction over the Section 404 permit and process” for the

Mine, and thus are reviewable under the APA. Compl. ¶ 63.


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       The APA allows for judicial review of agency actions “made reviewable by

statute and final agency action for which there is no other adequate remedy in a

court.” 5 U.S.C. § 704 (emphasis added). It is well-established that, to be final for

purposes of APA judicial review, the agency action at issue must mark the completion

of the agency’s decision-making process and the result must have concrete legal

consequences that will directly affect the parties. Bennett, 520 U.S. at 178. None of

the three letters to which the Tribe points meet this test.

       The Tribe attempts to characterize the Corps’ and EPA’s responses to the

Tribe as “expressly refus[ing]” to “take over the section 404 permitting process” for

the proposed Mine, Compl. ¶ 4, but as the Tribe concedes, the federal agencies merely

noted that permitting authority “lies with the State of Michigan by virtue of prior

Section 404 permitting delegation to the State.” Id. Far from the consummation of a

decision-making process that imposes concrete legal consequences, these letters did

no more than remind the Tribe that the relevant agency action occurred decades ago.

It is well-settled that agency action “that merely reiterates or affirms an earlier agency

decision and does not affect the rights or alter the status quo of the complaining party

is not considered a ‘final agency action.’” Golden and Zimmerman, L.L.C. v. Domenech,

599 F. Supp. 2d 702, 710 (E.D. Va. 2009) (quoting Harris v. FAA, 215 F. Supp. 2d 209,

213 (D.D.C. 2002)). As the D.C. Circuit has observed, “[j]ust as it would be folly to

allow parties to challenge a regulation anew each year upon the annual re-publication

of the Code of Federal Regulations, so too it is silly to permit parties to challenge an

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established regulatory interpretation each time it is repeated.” Id. (quoting Indep. Equip.

Dealers Ass’n v. EPA, 372 F.3d 420, 427-28 (D.C. Cir. 2004) (an EPA letter was not

reviewable agency action when it merely restated “for the umteenth time” the agency’s

longstanding interpretation of certain regulations)).

       EPA’s offer to consult with the Tribe regarding the Section 404 permit process,

Compl. ¶ 48, is no different. EPA’s letter can hardly be characterized as the end-point

of an agency process or as an action that has legal consequences. See, e.g., Home

Builders Ass’n of Greater Chicago v. U.S. Army Corps of Engineers, 335 F.3d 607, 618-19

(7th Cir. 2003) (noting that an agency action that “establishes only the procedural

framework under which the [agency] intends to operate” is not final agency action).

       Because none of the agency’s letter responses are final agency actions

reviewable under the APA, Count 2 fails to state a claim upon which relief may be

granted.

IV.    The Tribe’s Claims Are Not Ripe.

       As noted above, after the Tribe filed its Complaint, EPA on March 8 objected

to Aquila’s project as proposed. EPA’s objection marks the beginning of EPA’s

oversight process under 33 U.S.C. § 1344(j), and is not in itself reviewable final agency

action. Marquette County Road Comm’n v. EPA, No. 17-1154, 2018 WL 1388541 at *4-5

(6th Cir. Mar. 20, 2018). Unless Aquila withdraws its application, if EPA’s objection

is not resolved then permitting authority transfers to the Corps by operation of law,

which is precisely the relief the Tribe seeks. To the extent the Tribe is challenging the

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actual permit process for this project, rather than the 1984 decision to approve

Michigan’s Section 404 permitting program, EPA’s objection letter renders the Tribe’s

claims unripe, depriving the Court of subject matter jurisdiction. 3

       A claim is not ripe unless the plaintiff can demonstrate a concrete case or

controversy as required by Article III of the Constitution and “prudential

considerations . . . justify the present exercise of judicial power.” Christopher Lake Dev.

Co. v. St. Louis Cnty., 35 F.3d 1269, 1273 (8th Cir. 1994). Dismissing a case involving

an administrative agency as unripe “prevent[s] the courts, through avoidance of

premature adjudication, from entangling themselves in abstract disagreements over

administrative policies, and also . . . protect[s] the agencies from judicial interference

until an administrative decision has been formalized and its effects felt in a concrete

way by the challenging parties.” Abbott Labs. v. Gardner, 387 U.S. 136, 148-49 (1967),

overruled on other grounds, Califano v. Sanders, 430 U.S. 99 (1977). To this aim, “[t]he

ripeness doctrine . . . requires that the court exercise its discretion to determine if

judicial resolution would be desirable under all of the circumstances.” Sam & Ali, Inc.

v. Ohio Dep’t of Liquor Control, 158 F.3d 397, 399 (6th Cir. 1998) (citation and quotation

marks omitted). In the context of evaluating whether claims challenging agency

action are ripe for review, the Supreme Court has indicated that courts should


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  This argument is therefore presented under Fed. R. Civ. P. 12(b)(1), and the Court’s
consideration of the March 8 letter does not convert this into a motion for summary
judgment.


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consider “(1) whether delayed review would cause hardship to the plaintiffs; (2)

whether judicial intervention would inappropriately interfere with further

administrative action; and (3) whether the courts would benefit from further factual

development of the issues presented.” Ohio Forestry Ass’n v. Sierra Club, 523 U.S. 726,

733 (1998); see also Dealer Computer Servs. v. Dub Herring Ford, 547 F.3d 558, 561 (6th

Cir. 2008) (looking to “(1) the likelihood that the harm alleged by the party will ever

come to pass; (2) the hardship to the parties if judicial relief is denied at this stage in

the proceedings; and (3) whether the factual record is sufficiently developed to

produce a fair adjudication of the merits”).

       For many of the same reasons already discussed in establishing that neither

EPA nor the Corps have taken final agency action, the Tribe’s claims are also unripe.

See Sharkey v. Quarantillo, 541 F.3d 75, 89 (2d Cir. 2008) (“The APA requirement of

final agency action relates closely to the prudential doctrine of ripeness.”); Ass’n of

Flight Attendants-CWA, AFL-CIO v. Chao, 493 F.3d 155, 160 (D.C. Cir. 2007). There

has been no final decision as to whether the Mine should be issued a permit, and

additional administrative review is necessary before this question will be answered.

Requiring the Tribe to wait until the conclusion of these proceedings before securing

judicial review does not result in any harm to the Tribe, because the burdens of the

administrative process on the Tribe are not a cognizable hardship. Moreover, further

proceedings may entirely moot the need for litigation. See, e.g., Airline Prof’ls Ass’n of

the Int’l Bhd. Of Teamsters, Local Union No. 1224 v. Airborne, Inc., 332 F.3d 983, 987-88

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(6th Cir. 2003) (noting that a claim may be unripe “because future events may greatly

affect the outcome of the litigation and the cost of waiting is not particularly severe”);

CareToLive v. von Eschenbach, 525 F. Supp. 2d 938, 947 (S.D. Ohio 2007).

       The Court should therefore dismiss the Complaint as unripe.




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                                 CONCLUSION

      For the foregoing reasons, the Court should grant the United States’ motion to

dismiss.

                                          Respectfully submitted,

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                          CERTIFICATE OF SERVICE

      I hereby certify that on March 30, 2018, I electronically filed the foregoing brief

with the Clerk of the Court by using the CM/ECF system.

      The participants in the case are registered CM/ECF users and service will be

accomplished by the CM/ECF system.


                                               s/ Daniel R. Dertke
                                               DANIEL R. DERTKE




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